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                                                                              DISTRICT OF NEVADA
                                  13
      PISANELLI BICE




                                       FLEET CONNECT SOLUTIONS LLC, a                     CASE NO.: 2:20-cv-02306-GMN-NJK
                                  14   Texas limited liability company,

                                  15                             Plaintiff,               UNOPPOSED MOTION AND
                                                                                          [PROPOSED] ORDER EXTENDING
                                  16   v.                                                 DEFENDANT EAST-WEST TRANSPORT
                                                                                          INC.’S TIME TO FILE AN ANSWER OR
                                  17   EAST-WEST TRANSPORT INC., a Nevada                 OTHERWISE RESPOND TO
                                       corporation,                                       PLAINTIFF’S COMPLAINT
                                  18
                                                                 Defendant.               (FIRST REQUEST)
                                  19
                                  20           Plaintiff Fleet Connect Solution LLC (“Fleet Connect”), by and through its counsel of

                                  21   record, files this Unopposed Motion to Extend Defendant East-West Transport Inc.’s (“East-

                                  22   West”) Time to File an Answer or Otherwise Respond to Plaintiff’s Complaint, which was filed

                                  23   on December 22, 2020 and served on December 22, 2020 (Doc. Nos. 1, 10). This is the first

                                  24   request to extend the deadline.

                                  25           Fleet Connect filed its Complaint on December 21, 2020. (Doc. No. 1.). Fleet Connect

                                  26   served the Complaint and Summons on East-West on December 22, 2020. (Doc. No. 10.) The

                                  27   current deadline for East-West to answer or otherwise respond to the Complaint is January 12,

                                  28   2021.

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                                   1          The parties believe the litigation of this matter will be best served by extending the

                                   2   deadline for East-West to answer or otherwise respond to the Complaint by thirty days so that

                                   3   East-West may have additional time to investigate the claims and respond to the allegations in the

                                   4   Complaint.

                                   5          Thus, for the reasons set forth above, Fleet Connect respectfully requests that this Court

                                   6   grant its request to continue the deadline for East-West to answer or otherwise respond to the

                                   7   Complaint by thirty days up to and including February 11, 2021.

                                   8          DATED this 8th day of January 2021.

                                   9                                               Respectfully Submitted

                                  10
                                                                                   By:       /s/ Debra L. Spinelli
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                                  17                                               Attorneys for Plaintiff

                                  18
                                  19
                                  20                                               IT IS SO ORDERED.

                                  21                                               ______________________________________
                                                                                   UNITED   STATES
                                                                                   United States    DISTRICT
                                                                                                 Magistrate    JUDGE
                                                                                                            Judge
                                  22
                                  23                                                      January 8, 2021
                                                                                   DATED:_______________________________
                                  24
                                                                                   CASE NO.: 2:20-cv-02306-GMN-NJK
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